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           BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
In re: JULY 12, 2024 AT&TCUSTOMER
DATA SECURITY BREACH                                          MDL NO. _________

                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA

LORI YOUNG, and MACHELLE CRAWFORD,
individually and on behalf of all
others similarly situated,

v.                                                                    CASE NO. 24-cv-03185

AT&T MOBILITY, LLC


     Memorandum in Support of Motion for Transfer of Actions to the Northern District of
       Georgia Pursuant to 28 U.S.C. § 1407 for Consolidated or Coordinated Pretrial
                                        Proceedings

         Pursuant to 28 U.S.C. § 1407 and Rule 7.2(a) of the Rules of Procedure of the Judicial

Panel on Multidistrict Litigation, Plaintiffs Lori Young and Machelle Crawford respectfully submit

their brief in support of their motion to transfer the cases indicated in the motion to the United

States District Court for the Northern District of Georgia, for consolidation for pretrial purposes

with a pending action in that district: Lori Young and Machelle Crawford vs. AT&T Mobility, LLC;

Case: 1:24-cv-03185 (Judge Victoria M. Calvert). Plaintiffs additionally seek a ruling that any tag-

along cases that subsequently may arise be transferred to that district as well.

                                         BACKGROUND

         On July 12, 2024, AT&T announced that customer data was illegally downloaded from its

workspace on a third-party cloud platform (hereafter, the “Data Breach”). Upon information and

belief, the Data Breach affected more than 100 million AT&T customers and Snowflake is the

third-party cloud platform involved. The downloaded data included phone call and text message

records of nearly all of AT&T cellular customers from May 1, 2022, to October 31, 2022 and
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January 2, 2023. The compromised data also includes cell site identification numbers, and phone

numbers that AT&T wireless customers interacted with during this time, including AT&T landline

(home phone) customers. The four (4) actions including the instant action involve overlapping

putative classes in that each seeks certification of a nationwide class of AT&T customers whose

customer data was breached. Each of these cases assert that AT&T failed to properly secure and

safeguard the personally identifiable information (“PII”) and/or customer proprietary network

information (“CPNI”) that was accessed and exfiltrated in a data breach. The cases are:


 Case Caption            Court                  Case No.                   Judge
 Chris Schulte v. AT&T   District of New Jersey 3:24-cv-07818              Not Yet Assigned
 Inc.    and      AT&T
 Mobility, LLC
 Dina Winger v. AT&T,  Northern District of 3:24-cv-1797                   Judge Ada Brown
 Inc.                  Texas-         Dallas
                       Division
 Richard Olivieri and District of Montana- 2:24-cv-00056                   Magistrate    Judge
 Lauren    Woon     v. Butte Division                                      John Johnston
 AT&T, Inc.; AT&T
 Mobility, LLC and
 Snowflake, Inc.
 Lori    Young    and Northern District of 1:24-cv-03185                   Judge Victoria     M.
 Machelle Crawford v. Georgia                                              Calvert
 AT&T Mobility, LLC

       Each of these actions involve common factual and legal issues, including but not limited

to: (a) Whether and to what extent Defendant had a duty to protect the PII of Plaintiffs and Class

Members; (b) Whether Defendant had a duty not to disclose the PII of Plaintiffs and Class

Members to unauthorized third parties; (c) Whether Defendant failed to adequately safeguard the

PII of Plaintiffs and Class Members;(d) Whether Defendant required its third-party vendors to

adequately safeguard the PII of Plaintiffs and Class Members; (e)When Defendant actually

learned of the Data Breach; (f) Whether Defendant adequately, promptly, and accurately

informed Plaintiffs and Class Members that their PII had been compromised; (g) Whether
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Defendant violated the law by failing to promptly notify Plaintiffs and Class Members that their

PII had been compromised; (h) Whether Defendant failed to implement and maintain reasonable

security procedures and practices appropriate to the nature and scope of the information

compromised in the Data Breach; (i) Whether Defendant adequately addressed and fixed the

practices, procedures, or vulnerabilities which permitted the Data Breach to occur; (j) Whether

Plaintiffs and Class Members are entitled to actual damages, statutory damages, and/or nominal

damages as a result of Defendant’s wrongful conduct; (k) Whether Plaintiffs and Class Members

are entitled to injunctive relief to redress the imminent and ongoing harm faced as a result of the

Data Breach and whether and to what extent the class plaintiffs are entitled to relief.

                                           ARGUMENT
        This Panel was created by Congress in 1968 to assist courts and judges in effectively
managing related, complex civil matters. 28 U.S.C. § 1407 therefore allows it to transfer actions
to any district for coordinated or consolidated pretrial proceedings, so long as the actions involve
one or more common questions of fact, and the Panel determines that transfers “will be for the
convenience of parties and witnesses and will promote the just and efficient conduct of such
actions.” Id.
        The fact that each of the four cases is brought by a different law firm representing plaintiffs

is another reason why efficiencies will result from transfer and common pretrial treatment. Also,

in none of the actions has any determination yet been made as to lead or liaison counsel, nor are

any motions pending.

                      The Three Requirements of 28 U.S.C. § 1407 are Met

    1. The Pending Cases Involve Common Questions of Fact.

    While §1407 does not require complete identity (or even a majority) of common questions of

fact to justify transfer, see In re Zyprexa Products Liability Litigation, 314 F. Supp. 2d 1380, 1381
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(J.P.M.L. 2004), the pending cases all revolve around the fundamental question of the July 12,

2024 AT&T customer data breach and AT&T’s culpability and liability for said breach. The factual

issues to be determined in each case are fundamentally the same, and transfer is appropriate. See,

e.g., In re Ephedra Products Liability Litigation, 314 F.Supp. 2d 1373, 1375 (J.P.M.L. 2004).

    Likewise, there is much overlap in the legal grounds asserted for relief. Each complaint

seeks relief for purported unjust enrichment and negligence; three seek relief for unjust

enrichment, negligence, breach of contract, and invasion of privacy, and two seek recovery under

state trade practices and consumer fraud statutes; and other counts overlap as well. While of course

identity of issues is not a prerequisite to transfer, see In re Falstaff Brewing Corp. Antitrust

Litigation, 434 F. Supp. 1225 (J.P.M.L. 1977), these overlapping theories clearly offer savings in

party and court time and effort over individual handling of the actions in the various putative

transferor districts.

        2. Transfer Will Further the Convenience of the Parties and Witnesses and Reduce

the Totality of Judicial Labor Necessary to Resolve the Cases.

        Convenience for the parties, particularly as to the appearance of witnesses and the location

of documents, will be enhanced in the Northern District of Georgia because AT&T Mobility, LLC

has its principal place of business in Georgia. This is a compelling consideration. See In re Philips

Recalled Cpap, Bi-Level Pap, and Mechanical Ventilator Products Liability Litigation, 2021 WL

4704801 (U.S.J.P.M.L. 2021); In re Blackbaud, Inc., Customer Data Security Breach Litigation,

509 F. Supp. 3d 1362 (U.S.J.P.M.L. 2020); In re Wells Fargo Auto Insurance Marketing and Sales

Practices Litigation, 273 F. Supp. 3d 1383 (U.S.J.P.M.L. 2017).

        Moreover, the cases were all recently filed, and no discovery or substantive proceedings

have yet occurred in them. If they are permitted to proceed separately, much of the discovery will
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be the same in each case because of the many overlapping issues of fact and law, resulting in

unnecessary costs to all parties and unnecessarily duplicative work by the assigned district judges.

Pretrial transfer will limit discovery delays and costs for the plaintiffs and permit plaintiffs’ counsel

to coordinate their efforts and share the pretrial workload. It is logical and economical to transfer

the cases to the Northern District of Georgia so that a single pretrial schedule can be implemented,

minimizing costs and inconvenience.

        3. Transfer Will Promote Just and Efficient Conduct of the Cases.

    For the reasons described above, transfer is in the best interest of the parties and the respective

courts. There is no reason to waste judicial resources in reviewing the same arguments and

addressing the same discovery disputes, if any, in separate cases. This applies in particular to the

issue of class certification, which is sought in each of the cases, and as to which inconsistent district

court decisions could result in procedural chaos. Furthermore, at bottom, these cases will be

determined based on the fact of whether the claims have any justified support, which necessary

will require resort to expert testimony. Those experts will testify on the same issues in each of the

cases, which supports even more the reasons for transfer. See In re Power Morcellator Products

Liability Litigation, 140 F.Supp.3d 1351, 1353 (J.P.M.L. 2015) (overlapping expert discovery

supported centralization).

The Northern District of Georgia is the Appropriate Transferee District and Judge Victoria
                     M. Calvert is the Appropriate Transferee Judge

        In addition to the factors identified above, the Northern District of Georgia offers through

Judge Victoria M. Calvert MDL experience essential to manage a similar multidistrict case and the

availability to do so. The presence of an experienced jurist is of course always a factor in

determining the location of the transferee court. In re Air Crash at Georgetown, Guyana on July

30, 2011, 895 F.Supp. 2d 1355 (J.P.M.L. 2012).
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                                          CONCLUSION

       For the reasons set forth herein, Plaintiffs respectfully request that the Panel order

that the Schulte, Winger, and Olivieri class actions, as well as any cases that may be subsequently

filed asserting related or similar claims, be transferred to Judge Victoria M. Calvert in the Northern

District of Georgia and consolidated and coordinated with the Schulte, Winger, and Olivieri class

actions for all pretrial proceedings.

       Dated: July 23, 2024.

                                                      By: /s/ Paul J. Doolittle
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